431 F.2d 485
    John Philemon LUKE II, Petitioner-Appellant,v.Louie L. WAINWRIGHT, Director, Division of Corrections, State of Florida, Respondent-Appellee.John Francis HENRY, a/k/a Chico Henry, Petitioner-Appellant,v.Louie L. WAINWRIGHT, Director, Division of Corrections, State of Florida, Respondent-Appellee.
    No. 29573.
    No. 29577 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    September 17, 1970.
    
      Steadman S. Stahl, Jr., Varon &amp; Stahl, P. A., Edward M. Kay, Hollywood, Fla., for petitioners-appellants.
      Earl Faircloth, Atty. Gen., State of Fla., Tallahassee, Fla., Charles W. Musgrove, Asst. Atty. Gen., West Palm Beach, Fla., for respondent-appellee.
      Before THORNBERRY, MORGAN and CLARK, Circuit Judges.
      PER CURIAM:
    
    
      1
      The sole issue on this appeal from the denial of petition for habeas corpus is whether the comments of the prosecutor in closing argument to the jury in the state trial constituted comment upon the failure of appellants to take the stand and testify in their own behalf.
    
    
      2
      We agree with the district court, after a study of the remarks in question, that the jury could not have interpreted them as commentary on the failure of the appellants to take the stand, and therefore affirm. Garcia v. United States, 5th Cir. 1963, 315 F.2d 133; Samuels v. United States, 5th Cir. 1968, 398 F.2d 964; Williams v. Wainwright, 5th Cir. 1969, 416 F.2d 1042; Parks v. Wainwright, 5th Cir. 1970, 429 F.2d 1240.
    
    
      3
      Affirmed.
    
    
      
        Notes:
      
      
        *
         Rule 18, 5th Cir.; See Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5th Cir., 1970, 431 F.2d 409, Part I
      
    
    